                                                                      Case 2:22-cv-03896 Document 1 Filed 06/07/22 Page 1 of 4 Page ID #:1



                                                                  1    ATKINSON, ANDELSON, LOYA, RUUD & ROMO
                                                                       A Professional Corporation
                                                                  2    Anthony P. De Marco               State Bar Number 217815
                                                                  3    Amber S. Healy                    State Bar Number 232730
                                                                       Michael C. Mauceri                State Bar Number 311220
                                                                  4    12800 Center Court Drive, Suite 300
                                                                       Cerritos, California 90703-9364
                                                                  5    Telephone: (562) 653-3200
                                                                       Facsimile: (562) 653-3333
                                                                  6
                                                                  7    Attorneys for Defendant
                                                                       GARDEN GROVE UNIFIED SCHOOL
                                                                  8    DISTRICT
                                                                  9
ATKINSON, ANDELSON, LOYA, RUUD & ROMO




                                                                 10                          UNITED STATES DISTRICT COURT
                                                                 11          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                                                                 12
                                    A PROFESSIONAL CORPORATION




                                                                 13    VINCE BURKLUND, as an individual            CASE NO.:
                                         ATTORNEYS AT LAW




                                                                       on behalf of himself and on behalf of all
                                                                 14    others similarly situated,                  NOTICE OF REMOVAL OF
                                                                                                                   CIVIL ACTION TO FEDERAL
                                                                 15                       Plaintiff,               COURT
                                                                 16    vs.                                         Complaint Filed: May 5, 2022
                                                                 17    GARDEN GROVE UNIFIED SCHOOL                 [Orange County Superior Court
                                                                       DISTRICT, a California public school        Case No. 30-2022-01258164-CU-OE-
                                                                 18    district; and DOES 1-100, inclusive,        CXC]
                                                                 19                       Defendants.
                                                                 20
                                                                 21          TO THE DISTRICT COURT OF THE UNITED STATES, CENTRAL
                                                                 22    DISTRICT OF CALIFORNIA, SOUTHERN DIVISION, PLAINTIFFS AND
                                                                 23    THEIR ATTORNEYS OF RECORD:
                                                                 24          PLEASE TAKE NOTICE that Defendant GARDEN GROVE UNIFIED
                                                                 25    SCHOOL DISTRICT (“Defendant”), hereby removes to this Court the above-
                                                                 26    captioned civil action from the Superior Court of the State of California, County of
                                                                 27    Orange, Case No. 30-2022-01258164-CU-OE-CXC, to the United States District
                                                                 28    Court, for the Central District of California, Southern Division, based upon federal
                                                                 29
                                                                 30               NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                                                                               Case 2:22-cv-03896 Document 1 Filed 06/07/22 Page 2 of 4 Page ID #:2



                                                                           1    question jurisdiction pursuant to 28 U.S.C. sections 1331 and 1441(b). The suit is
                                                                           2    one of a civil nature over which the United States District Court has original
                                                                           3    jurisdiction. The removal is based upon the following grounds:
                                                                           4 I.       TIMELINESS.
                                                                           5          1.    On May 5, 2022, Plaintiff Vince Burklund (“Plaintiff”) commenced
                                                                           6    this action in the Superior Court of the State of California in the County of Orange
                                                                           7    captioned Vince Burklund, as an individual on behalf of himself and on behalf of
                                                                           8    all others similarly situated v. Garden Grove Unified School District, a California
                                                                           9    public school district; and DOES 1-100, inclusive, Case No. 30-2022-01258164-
ATKINSON, ANDELSON, LOYA, RUUD & ROMO




                                                                          10    CU-OE-CXC. A true and correct copy of the issued Summons and conformed
                                                                          11    unverified Complaint filed in the Superior Court are attached hereto as Exhibit A
                                                                          12    and Exhibit B.
                                    12800 Center Court Drive, Suite 300
                                     A PROFESSIONAL CORPORATION


                                      Cerritos, California 90703-9364
                                        Telephone: (562) 653-3200




                                                                          13          2.    On May 5, 2022, Plaintiff filed a Civil Case Cover Sheet. A true and
                                         Facsimile: (562) 653-3333
                                           ATTORNEYS AT LAW




                                                                          14    correct copy of Plaintiff’s Civil Case Cover Sheet filed in the Superior Court is
                                                                          15    attached hereto as Exhibit C.
                                                                          16          3.    On May 13, 2022, Plaintiff filed proof of substitute service of the
                                                                          17    Summons and Complaint served on Defendant. Per the proof of service, Plaintiff
                                                                          18    served Defendant with the Summons and Complaint on May 9, 2022. A true and
                                                                          19    correct copy of the Proof of Service of Summons filed in the Superior Court is
                                                                          20    attached hereto as Exhibit D.
                                                                          21          4.    This Notice of Removal is timely under 28 U.S.C. section 1446(b) in
                                                                          22    that Defendants have filed this Notice of Removal of Action within one (1) year of
                                                                          23    commencement of this action and within thirty (30) days of having first received
                                                                          24    the Complaint.
                                                                          25          5.    A true and correct copy of the Superior Court Docket is attached
                                                                          26    hereto as Exhibit E. The Docket shows that on May 5, 2022, the Superior Court
                                                                          27    action was assigned to the Honorable Randall Sherman. However, as shown in
                                                                          28    Exhibit E, no case assignment documents accompany the case assignment.
                                                                          29                                            -2-
                                                                          30               NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                                                                               Case 2:22-cv-03896 Document 1 Filed 06/07/22 Page 3 of 4 Page ID #:3



                                                                           1          6.       To Defendant’s knowledge, no other defendant has been named or
                                                                           2    served with process in this action as of the date this Notice of Removal is filed.
                                                                           3 II.      STATEMENT OF GROUNDS FOR REMOVAL
                                                                           4          7.       This action has been removed to this Court based upon federal
                                                                           5    question jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1441(a), in that it includes
                                                                           6    a claim arising under the laws of the United States.
                                                                           7          8.       Plaintiff’s Complaint alleges three causes of action.     The second
                                                                           8    cause of action in the Complaint alleges that Defendant’s actions were in violation
                                                                           9    of the federal Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq. (See
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                                                                          10    Complaint, Exhibit A ¶¶ 34-45, and Prayer for Relief, pp. 13-14). In the second
                                                                          11    cause of action, Plaintiff alleges that Defendant failed to compensate Plaintiff and
                                                                          12    the alleged “FLSA Class members” for all hours worked, as well as overtime and
                                    12800 Center Court Drive, Suite 300
                                     A PROFESSIONAL CORPORATION


                                      Cerritos, California 90703-9364
                                        Telephone: (562) 653-3200




                                                                          13    non-discretionary pay, at the rates or amounts required under the FLSA and
                                         Facsimile: (562) 653-3333
                                           ATTORNEYS AT LAW




                                                                          14    federal regulations promulgated under the FLSA. Complaint, Exhibit A ¶¶ 34-45.
                                                                          15          9.       This action is therefore a civil action over which this Court has
                                                                          16    jurisdiction pursuant to 28 U.S.C. § 1331. It raises a claim that is “necessarily
                                                                          17    federal in character,” and one where the “right to relief depends on the resolution
                                                                          18    of a substantial, disputed federal question.” See Herman v. Salomon Smith Barney,
                                                                          19    Inc., 266 F. Supp. 2d 1208, 1211 (S.D. Cal. 2003); see also Sparta Surgical v.
                                                                          20    Nat'l Ass'n of Sec. Dealers, 159 F.3d 1209, 1211 (9th Cir. 1998) (holding that
                                                                          21    because the complaint sought relief based upon a violation of rules promulgated
                                                                          22    by an agency under the federal securities laws, subject matter jurisdiction was
                                                                          23    vested in the federal district court). Accordingly, this action may be removed to
                                                                          24    this Court.
                                                                          25          10.      Plaintiff’s remaining causes of action are claims over which this
                                                                          26    Court may properly exercise supplemental jurisdiction pursuant to 28 U.S.C. §
                                                                          27    1367(a), because they form part of the same case or controversy as the claims over
                                                                          28    which this Court would have original jurisdiction. Specifically, Plaintiff’s first and
                                                                          29                                             -3-
                                                                          30                  NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
                                                                               Case 2:22-cv-03896 Document 1 Filed 06/07/22 Page 4 of 4 Page ID #:4



                                                                           1    third causes of action in the Complaint are either wholly derivative of Plaintiff’s
                                                                           2    second cause of action or are based upon the same nucleus of facts arising out of
                                                                           3    Plaintiff’s alleged employment with Defendant.
                                                                           4 III.     THE ADDITIONAL REQUIREMENTS FOR REMOVAL ARE MET.
                                                                           5          11.    Attached hereto as Exhibits A, B, C, and D are copies of all process,
                                                                           6    pleadings, and papers filed in the Superior Court in Defendant’s possession, as
                                                                           7    follows: (1) Exhibit A - Plaintiff’s Summons; 2) Exhibit B - Complaint; (3)
                                                                           8    Exhibit C - Plaintiff’s Civil Case Cover Sheet; (4) Exhibit D - Plaintiff’s Proof of
                                                                           9    Service of Summons. Defendant has not been served with any other process.
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                                                                          10          12.    Defendant will file and serve a copy of the conformed Notice of
                                                                          11    Removal in the Superior Court of California for the County of Orange. Thereafter,
                                                                          12    Defendant will file a Certificate of Service of Notice to Adverse Party and to The
                                    12800 Center Court Drive, Suite 300
                                     A PROFESSIONAL CORPORATION


                                      Cerritos, California 90703-9364
                                        Telephone: (562) 653-3200




                                                                          13    Clerk of the Superior Court of Removal of Action to Federal Court.
                                         Facsimile: (562) 653-3333
                                           ATTORNEYS AT LAW




                                                                          14          WHEREFORE, Defendant prays that the above action pending in the
                                                                          15    Superior Court of the State of California, for the County of Orange, be removed to
                                                                          16    the United States District Court for the Central District of California, Southern
                                                                          17    Division.
                                                                          18
                                                                          19    Dated: June 7, 2022
                                                                                                                     ATKINSON, ANDELSON, LOYA, RUUD &
                                                                          20                                         ROMO
                                                                          21
                                                                          22                                         By: /s/ Amber S. Healy
                                                                                                                         Anthony P. De Marco
                                                                          23                                             Amber S. Healy
                                                                                                                         Michael C. Mauceri
                                                                          24                                             Attorneys for Defendant
                                                                          25                                             GARDEN GROVE UNIFIED SCHOOL
                                                                                                                         DISTRICT
                                                                          26
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                                                                          30                NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
